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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

OZ ELS MASTER FUND, LTD., OZ
SPECIAL FUNDING (OZMD), L.P., OZ                      No. 3:17-cv-01314 (SRU)
ENHANCED MASTER FUND, LTD.,
GORDEL CAPITAL LIMITED, OZ
GLOBAL EQUITY OPPORTUNITIES
MASTER FUND, LTD. (f/k/a OZ EQUITY
LONG-SHORT MASTER FUND, LTD.),
OZ MASTER FUND, LTD., and OZ
GLOBAL SPECIAL INVESTMENTS
MASTER FUND, L.P.,

       Plaintiffs,

                v.

TEVA PHARMACEUTICAL INDUSTRIES
LIMITED, EREZ VIGODMAN, EYAL
DESHEH, YAACOV “KOBI” ALTMAN, and
SIGURDUR OLAFSSON,
                                                      December 2, 2019
       Defendants.

                                   JOINT STATUS REPORT

       Plaintiffs OZ ELS Master Fund, Ltd., OZ Special Funding (OZMD), L.P., OZ Enhanced

Master Fund, Ltd., Gordel Capital Limited, OZ Global Equity Opportunities Master Fund, Ltd.,

(f/k/a OZ Equity Long-Short Master Fund, Ltd.), OZ Master Fund, Ltd., and OZ Global Special

Investments Master Fund, L.P. and Defendants Teva Pharmaceutical Industries Ltd., Erez

Vigodman, Eyal Desheh, Yaacov “Kobi” Altman, and Sigurdur Olafsson (collectively, the

“Parties”) jointly submit this status report to the Court. The Parties state as follows:

       1.       This action and 15 other direct actions pending in this District are related to the

pending putative class action styled Ontario Teachers’ Pension Plan Board, et al. v. Teva

Pharmaceutical Industries Ltd., et al., No. 3:17-cv-00558 (SRU) (the “Ontario Action”).
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       2.       Per this Court’s May 10, 2018 Order (ECF No. 42), this Action has been stayed

pending a decision on the motions to dismiss of the defendants in the Ontario Action. The Order

required the Parties to meet and confer within 21 days of that decision, and propose to the Court

a schedule for further proceedings or a further deferment of or motion to stay proceedings. (Id.)

       3.       On September 25, 2019, this Court issued its order on the motions to dismiss in

the Ontario Action. Ontario, ECF No. 283 (Sept. 25, 2019) (the “September 25 Order”).

       4.       On October 16, 2019, the Parties submitted a Joint Status Report (ECF No. 48),

stating that the Parties were engaged in meet and confer discussions in an effort to reach an

agreement respecting the coordination and scheduling of further proceedings in all cases that

would enable this Court and the parties to manage the related actions in an efficient and

streamlined manner. The Parties then committed to providing the Court with a subsequent status

report by two weeks after the Court entered a scheduling order in the Ontario Action.

       5.       On November 18, 2019, the Court issued a Civil Case Management Order in the

Ontario Action requiring that the parties in the Ontario Action “make submissions regarding the

consolidation of [the Ontario Action] and the 19 other related actions,” including this action, “no

later than December 13, 2019.” Ontario, ECF No. 298 (Nov. 18, 2019).

       6.       Consistent with the Parties’ October 16, 2019 Joint Status Report and the Court’s

November 18, 2019 Civil Case Management Order in the Ontario Action, the Parties state that

they, and the parties in the other related actions, are engaged in meet and confer discussions in an

effort to reach an agreement respecting the consolidation, coordination, and scheduling of further

proceedings in all cases that will enable this Court and the parties to manage the related actions

in an efficient and streamlined manner, and that the Parties will “make submissions regarding []




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consolidation” of the related cases by no later than December 13, 2019. Ontario, ECF No. 298

(Nov. 18, 2019).

Respectfully submitted,                               Respectfully submitted,

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